                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA




UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:09-cr-72
v.                                                   )
                                                     )       JUDGE COLLIER
ABDUL FREEMAN                                        )       MAGISTRATE JUDGE LEE
                                                     )


                                            ORDER


       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the two-count

Indictment (2) accept Defendant’s plea of guilty to the charge in Count One, that is of conspiracy

to distribute 50 grams or more of a mixture and substance containing a detectable amount of cocaine

base (“crack”) in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A); (3) adjudicate Defendant guilty

of the charge in Count One, that is of conspiracy to distribute 50 grams or more of a mixture and

substance containing a detectable amount of cocaine base (“crack”) in violation of 21 U.S.C. §§ 846

and 841(b)(1)(A); (4) defer a decision on whether to accept the plea agreement until sentencing; and

(5) find Defendant shall remain in custody until sentencing in this matter [Doc. 26]. Neither party

filed a timely objection to the report and recommendation. After reviewing the record, the Court

agrees with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS

and ADOPTS the magistrate judge’s report and recommendation [Doc. 26] pursuant to 28 U.S.C.

§ 636(b)(1) and ORDERS as follows:




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      (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

            is GRANTED;

      (2)   Defendant’s plea of guilty to the charge in Count One, that is of conspiracy to

            distribute 50 grams or more of a mixture and substance containing a detectable

            amount of cocaine base (“crack”) in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A)

            is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the charge in Count One, that is of

            conspiracy to distribute 50 grams or more of a mixture and substance containing a

            detectable amount of cocaine base (“crack”) in violation of 21 U.S.C. §§ 846 and

            841(b)(1)(A);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter, which is

            scheduled to take place on October 22, 2009 at 9:00 a.m. before the Honorable

            Curtis L. Collier.

      SO ORDERED.

      ENTER:

                                         /s/
                                         CURTIS L. COLLIER
                                         CHIEF UNITED STATES DISTRICT JUDGE




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